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and Cilag GmbH International

                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


MITSUBISHI TANABE PHARMA
CORPORATION, JANSSEN                     Civil Action No. 17-13130 (PGS)(DEA)
PHARMACEUTICALS, INC., JANSSEN
PHARMACEUTICA NV, JANSSEN                NOTICE OF APPEARANCE
RESEARCH AND DEVELOPMENT, LLC,
and CILAG GMBH INTERNATIONAL,            (Filed Electronically)
                    Plaintiffs,

      v.

MACLEODS PHARMACEUTICALS, LTD.
and MACLEODS PHARMA USA, INC.,

                    Defendants.
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       PLEASE TAKE NOTICE that Colleen Tracy James, an attorney with the firm of Quinn

Emanuel Urquhart & Sullivan, LLP hereby appears as counsel for plaintiffs Mitsubishi Tanabe

Pharma Corporation, Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica NV, Janssen

Research and Development, LLC, and Cilag GmbH International in the above-captioned matter

and requests that copies of all notices, pleadings, and orders entered in this matter be sent to the

undersigned.

Dated: February 7, 2019                            Respectfully submitted,

                                               By: s/ Colleen Tracy James
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